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                          THE UNITED STATES DISTRICT COURT FOR
                             THE MIDDLE DISTRICT OF FLORIDA,
                                    ORLANDO DIVISION

                                            CASE NO.: 6:20-cv-1660

  ROBERT CARVELL,

             Plaintiff,

  v.

  DOLLAR TREE STORES, INC.,

             Defendant.

  __________________________________/

                                DEFENDANT’S NOTICE OF REMOVAL

       TO:       THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
                 DISTRICT OF FLORIDA, ORLANDO DIVISION

          Defendant, Dollar Tree Stores, Inc. by and through its undersigned counsel,

 and pursuant to 28 U.S.C. §§ 1331, 1441, 1446 and Local Rule 4.02, hereby

 removes this action, which is styled Robert Carvell v. Dollar Tree Stores, Inc., and

 designated Case No.: 2020-CA-001690, from the Circuit Court of the Judicial

 Circuit in and for Seminole County, Florida, in which the action is now pending, to

 the United States District Court for the Middle District of Florida, Orlando Division.

 In support of this removal, and pursuant to 28 U.S.C. § 1446, Dollar Tree Stores,

 Inc. (Defendant) states:

 1.       This case is properly removable due to diversity of citizenship between

 Plaintiff, Robert Carvell, and Defendant, Dollar Tree Stores, Inc. As more fully set

 forth below.
                                            COLE, SCOTT & KISSANE, P.A.
         TOWER PLACE, SUITE 400 - 1900 SUMMIT TOWER BOULEVARD - ORLANDO, FLORIDA 32810 - (321) 972-0000 (321) 972-0099 FAX
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 2.     Venue is proper in the Orlando Division of the Middle District of Florida,

 pursuant to M.D.L.R. 1.02(b)(3). This case was filed in the Circuit Court of the

 Eighteenth Judicial Circuit in and for Seminole County, Florida, on July 16, 2020.

 Therefore, the Orlando Division is the proper Court for removal of this case.

 3.        The Summons was served upon Defendant’s Florida Registered Agent.

 A copy of the Summons and Complaint are attached collectively hereto as Exhibit

 “A.” Defendant has filed an Answer in the State Court action on August 5, 2020.

 A copy of the Answer and Incorporated Motion to Dismiss Count II are attached

 hereto as Exhibit “B.”

 4.        This Notice of Removal is being timely filed within thirty (30) days from

 August 14, 2020, the date upon which Plaintiff provided Defendant with medical

 bills for Plaintiff’s expenses exceeding $75,000. From receipt of these medical bills,

 Defendant learned of the appropriateness of removal. See correspondence from

 Xaymara Morales, Litigation Paralegal to Brian M. Davis, Esq. attached hereto as

 Exhibit “C,” and Plaintiff’s provided medical bills attached hereto as Exhibit “D.”

 5.        Defendant filed with the Clerk of the Circuit Court for the Eighteenth

 Judicial Circuit, in and for Seminole County, Florida, a true and correct copy of the

 Notice to State Court Clerk of Removal of Case to Federal Court pursuant to 28

 U.S.C. § 1446(d). A copy of the Notice to Sate Court Clerk of Removal of Case to

 Federal Court is attached hereto as Exhibit “E.”




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                                          COLE, SCOTT & KISSANE, P.A.
       TOWER PLACE, SUITE 400 - 1900 SUMMIT TOWER BOULEVARD - ORLANDO, FLORIDA 32810 - (321) 972-0000 (321) 972-0099 FAX
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 6.        The District Courts of the United States have original jurisdiction of this

 civil action as provided in 28 U.S.C. § 1332. Under that section, this Court has

 jurisdiction based upon complete diversity as follows:

        a. Plaintiff, Robert Carvell (“Plaintiff”), consents to his citizenship by

             alleging he lives in the State of Florida and resides in Seminole County.

             See Exhibit A, page 5 at ¶ 2.

        b. Defendant is a citizen of the State of Virginia. Defendant is a foreign

             corporation, organized under the laws of the State of Virginia with its

             principal place of business located at 500 Volvo Parkway Chesapeake,

             Virginia 23320. Although a company may conduct business in multiple

             places, the Supreme Court has determined that the “principal place of

             business” for a corporation is its nerve center: “the place where a

             corporation’s officers direct, control, and coordinate the corporation’s

             activities.”          Hertz Corp. v. Friend, 559 U.S. 77, 91–94 (2010)

             (establishing the “nerve center” test as uniform approach for determining

             corporate citizenship). A copy of Defendant’s corporate filing with the

             State of Florida, showing the principal place of business as the State of

             Virginia, is attached hereto as Exhibit “F.”

 7.     The amount in controversy exceeds the minimum sum of $75,000, exclusive

 of interest and costs as laid out below.

        a. As to the amount in controversy, Plaintiff’s Complaint only states that

             damages exceed the amount of $30,000. See Exhibit A, page 5 at ¶ 1.

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                                          COLE, SCOTT & KISSANE, P.A.
       TOWER PLACE, SUITE 400 - 1900 SUMMIT TOWER BOULEVARD - ORLANDO, FLORIDA 32810 - (321) 972-0000 (321) 972-0099 FAX
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            Since Plaintiff made an unspecified demand for damages in his state

            court pleading, the Defendant must establish by a preponderance of the

            evidence that the amount in controversy more likely than not exceeds

            the threshold requirement of 28 U.S.C. § 1332. See Roe v. Michelin N.

            Am., Inc., 613 F.3d 1058, 1061 (11th Cir. 2010); Williams v. Best Buy

            Co., 269 F.3d 1316, 1319 (11th Cir. 2001).

       b. In the instant case, as part of Plaintiff’s Complaint, he alleges that he

            “suffered injury and resulting pain and suffering, aggravation of a pre-

            existing condition, disability, loss of the capacity of the enjoyment of life,

            medical care and treatment expense, loss of earnings, and loss of ability

            to earn money.” See Exhibit A, Page 2-4 at ¶ 10. Additionally, Plaintiff

            alleges these injuries are “either permanent or continuing, and the

            plaintiff will continue to suffer losses in the future.” Id.

       c.    Based upon the allegations in Plaintiff’s Complaint, in its entirety, both

            in terms of economic and non-economic damages, Plaintiff’s claims fully

            support a conclusion that he is seeking damages to be awarded in

            excess of the jurisdictional limits of this Court. Therefore, subject matter

            jurisdiction, even if Plaintiff did not specifically allege $75,000 in the

            original Complaint, is vested in this Court.

       d. Plaintiff previously provided extensive medical expenses related to a L4-

            L5 and L5-S1 bilateral foraminotomies with interspinous process fixation

            surgery, imaging for his cervical spine, lumbar spine, and pelvis, and

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                                         COLE, SCOTT & KISSANE, P.A.
      TOWER PLACE, SUITE 400 - 1900 SUMMIT TOWER BOULEVARD - ORLANDO, FLORIDA 32810 - (321) 972-0000 (321) 972-0099 FAX
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             injections for his right sacroiliac joint, cervical facet joint, and lumbar

             region. See Exhibit D. He alleges he underwent these treatments for

             injuries from the incident. While Defendant does not stipulate to the

             reasonableness, necessity or causation related to the medical bills

             expenses or the causation arguments related thereto, it is reasonable to

             infer that the hospital expenses are extensive. Even without considering

             any other treatment or future treatment, it is reasonable to conclude that

             these expenses meet or exceed the jurisdictional amount in controversy

             and thus establishes, by a preponderance of the evidence, that the

             amount of controversy exceeds $75,000. See Degeorge v. Geico Gen.

             Ins. Co., 6:12-cv-1654-Orl-37GJK, 2012 U.S. Dist. LEXIS 176654, 2012

             WL 6212916, *2 (MD Fla. Dec. 13, 2012) (finding diversity jurisdiction by

             analyzing details of demand letter in support of removal).

        e. In fact, in Plaintiff’s medical bill from Millenia Surgery Center for his L4-

             5 and L5-S1 Bilateral Foraminal Stenosis with Interspinous, the balance

             of the surgery alone, without any other costs like anesthesia, exceeded

             the jurisdictional requirement and totaled $85,480.27. See Exhibit D, pg.

             17.

 8.     Pursuant to Federal Rules of Civil Procedure 81(c)(2)(C), Defendant shall

 file its Answer or present its defense or objections to the Complaint within seven

 days of the filing of this Notice of Removal.



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                                          COLE, SCOTT & KISSANE, P.A.
       TOWER PLACE, SUITE 400 - 1900 SUMMIT TOWER BOULEVARD - ORLANDO, FLORIDA 32810 - (321) 972-0000 (321) 972-0099 FAX
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          WHEREFORE, for the above-stated reasons, Defendant prays that Civil

 Action No. 2020-CA-001690 now pending in Circuit Court of the Eighteenth

 Judicial Circuit in and for Seminole County, Florida be removed to this Federal

 Court.

          Respectfully submitted, this 10th day of September, 2020.

                                       CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 10th day of September, 2020, a true and

 correct copy of the foregoing has been furnished by electronic filing with the Clerk

 of the court via CM/ECF, which will send notice of electronic filing to all counsel of

 record.

                                                       COLE, SCOTT & KISSANE, P.A.
                                                       Counsel for Defendant Dollar Tree Stores,
                                                       Inc.
                                                       Tower Place, Suite 400
                                                       1900 Summit Tower Boulevard
                                                       Orlando, Florida 32810
                                                       Telephone (321) 972-0029
                                                       Facsimile (321) 972-0099
                                                       Primary e-mail:
                                                       melissa.crowley@csklegal.com
                                                       Secondary e-mail:
                                                       elisa.schneider@csklegal.com
                                                       Alternate e-mail:
                                                       anna.ortega@csklegal.com

                                              By: s/ Melissa D. Crowley
                                                  MELISSA D. CROWLEY
                                                  Florida Bar No.: 90984

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                                          COLE, SCOTT & KISSANE, P.A.
       TOWER PLACE, SUITE 400 - 1900 SUMMIT TOWER BOULEVARD - ORLANDO, FLORIDA 32810 - (321) 972-0000 (321) 972-0099 FAX
